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     EXHIBIT 3
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               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION


Alvin Todd, et al.,
               Plaintiffs,
         v.                                      Civil Action No. 3:13-cv-04984-JST
Tempur-Sealy International, Inc et al,
               Defendants.


Response to Tempur-Pedic’s “Objections” (7/25/16) and Administrative Motion (7/28/16)
                                Peter E. Rossi, Ph.D
                                   August 1, 2016


As an economics and marketing expert, I filed a report proposing a measure of economic
loss or damages as well as a methodology for computing this measure of loss on a uniform
basis for the proposed class of purchasers of Tempur-Pedic mattresses. My report provided
extensive detail on these methods as well as a discussion of my view that a market price
premium measure of damages is appropriate. An important part of my proposed
methodology is a scientifically designed and rigorous survey designed to help assess the
market price premium that might be attributed to the claims at issue. At the time of my
report, I reviewed the data that was available and explained why this data is inadequate and
that a properly designed and analyzed survey was vital to any credible damages calculation.
My report was provided extensive references to peer-reviewed articles that I and other
economic and marketing experts have written on methodology I propose to use.

In response to my proposal, the defendants’ experts, Drs. Langenfield and Reibstein, filed
rebuttal reports. Their response was a combination of a critique of my proposed
methodology as well as an argument that there was no loss incurred by the proposed class
members. Central to their argument was their view that data from the various Blackstone
Group surveys called into question the reliability of my proposed method. In particular, the
defendants’ experts claimed that the Blackstone surveys showed that very few, if any,
proposed class members were exposed to the claims at issue. Moreover, the defendants’
experts purport the Blackstone surveys to also show that few consumers care about mattress
materials and focus almost exclusively on the “comfort” of a mattress. These claims about
the contents of the Blackstone surveys are central to their arguments that, in their view, my
proposed damages calculations are either invalid or unreliable.

Given that the defendants’ criticisms of my report hinge almost exclusively on the
Blackstone data, I felt that it was my responsibility to review this data as well as the survey
methods used to obtain it. Dr. A. Rossi had undertaken extensive review and analysis of the
various Blackstone surveys. For the reasons outlined in my sur-rebuttal report, I do not
believe that the Blackstone data meets any acceptable standards for survey research and
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suffers from fatal conceptual and execution flaws. Finally, the defendants’ experts did not
review the data carefully and failed to disclose that there is evidence in the Blackstone data
that directly contradicts their assumptions that few proposed class members were exposed to
the claims, cared about health characteristics of mattress materials, or relied exclusively on
comfort as “experienced” from store visits in which they laid down on mattresses.

The defendants’ now object to my sur-rebuttal report on the spurious grounds that it
introduces new opinions not considered in my original report without disclosing that my sur-
rebuttal report is a response to defendants’ own introduction of the Blackstone surveys as a
key part of their critique of my damages methodology.

Finally, I must point out that the defendants’ counsel make incorrect and un-substantiated
assertions about my reports. For example, in their “objections” dated 7/25/16, counsel for
the defendants’ state that I provided opinions regarding the reliability of the Blackstone
survey data without providing the basis of those opinions. As a survey expert, PhD in
econometrics, fellow of the American Statistical Association, I explained in detail each of the
many flaws in the Blackstone Surveys and why these flaws render the survey results
unreliable. I have taught and practiced rigorous survey research for more than 30 years. This
background and these qualifications make me an expert in survey research and I am entitled
to provide opinions on that basis. The defendants’ experts cannot cite a single authoritative
source as to why the practices of the Blackstone group meet rigorous scientific standards.
Counsel for the defendants’ also accused me of “ad hominem” attacks on the defendants’
experts without a single citation to anything contained in my sur-rebuttal report. These too
are without merit.

Respectfully submitted,




August 1, 2016
